             Case 23-50437-JTD        Doc 36-2      Filed 11/08/23   Page 1 of 15




               Ernest Ukaj
               Chairman of the Board of Directors
               Money Key AG
               Industriestrasse 28
               CH-9100 Herisau, Switzerland

       Ernest Ukaj has knowledge surrounding of the formation and growth of DAAG; DAAG’s

unique business plan; the licensure pursued and obtained by DAAG; the tech stack employed by

DAAG; DAAG’s relationship with various crucial regulators; and the value of DAAG at or around

the time of the disputed transfers.

               Sam Bankman-Fried
               Metropolitan Detention Center
               80 29th St.
               Brooklyn, NY 11232

       Sam Bankman-Fried has knowledge of the fraudulent schemes in which he conspired at

FTX and their inapplicability to DAAG; FTX’s general business operations and plans; FTX’s

finances and solvency; FTX’s intention with respect to the investment in and acquisition of DAAG

and a similarly situated company, Ledger X; information surrounding the initiation of DAAG’s

relationship with FTX; DAAG’s unique business plan; the licensure pursued and obtained by

DAAG; the tech stack employed by DAAG; DAAG’s relationship with various crucial regulators;

the value of DAAG at the time of the disputed transfers; the negotiations and consummation of the

disputed transactions; the value of DAAG to FTX; other offers and interest that third parties had

in DAAG; and the success of DAAG after its acquisition by FTX.

               Ryan Salame
               c/o Jason Linder
               Mayer Brown LLP
               333 S. Grand Avenue, Ste 47th Floor
               Los Angeles, CA 90071




                                               3

                                                                                                    A.0029
             Case 23-50437-JTD        Doc 36-2     Filed 11/08/23    Page 2 of 15




       Ryan Salame has knowledge of the fraudulent schemes in which he conspired at FTX and

their inapplicability to DAAG; FTX’s general business operations and plans; FTX’s finances and

solvency; FTX’s intention with respect to the investment in and acquisition of DAAG and a

similarly situated company, Ledger X; information surrounding the initiation of DAAG’s

relationship with FTX; DAAG’s unique business plan; the licensure pursued and obtained by

DAAG; the tech stack employed by DAAG; DAAG’s relationship with various crucial regulators;

the value of DAAG at the time of the disputed transfers; the negotiations and consummation of the

disputed transactions; the value of DAAG to FTX; other offers and interest that third parties had

in DAAG; and the success of DAAG after its acquisition by FTX.

              Nishad Singh
              c/o Russell Capone
              Cooley LLP
              55 Hudson Yards
              New York, NY 10001

       Nishad Singh has knowledge of the fraudulent schemes perpetrated by FTX and their

inapplicability to DAAG. Nishad Singh also oversaw operations at FTX Europe post acquisition

of DAAG and has knowledge of the value that the DAAG acquisition brought to FTX.

              Gary Wang
              c/o Ilan Tuviah Graff
              Fried, Frank, Harris, Shriver & Jacobson LLP
              One New York Plaza
              New York, NY 10004

       Gary Wang has knowledge of the fraudulent schemes perpetrated by FTX and their

inapplicability to DAAG and the solvency of FTX at the time of the disputed transfers.

              Caroline Ellison
              c/o Stephanie Avakian
              Wilmer Cutler Pickering Hale and Dorr LLP
              2100 Pennsylvania Avenue NW
              Washington, DC 20037



                                               4

                                                                                                    A.0030
             Case 23-50437-JTD        Doc 36-2     Filed 11/08/23    Page 3 of 15




       Caroline Ellison has knowledge of the fraudulent schemes perpetrated by FTX and their

inapplicability to DAAG and the solvency of FTX at the time of the disputed transfers.

              Daniel Friedberg
              1133 Bigelow Avenue North
              Seattle, WA 98109

       Daniel Friedberg, a former attorney with Fenwick & West LLP, (which represented FTX

and Alameda) served as counsel for FTX and was involved in the negotiations between FTX and

DAAG with respect to the investment in and ultimate acquisition of DAAG. Daniel Friedberg

also ran point on the due diligence that FTX conducted in connection with its investment in and

acquisition of DAAG.

              Can Sun
              FTX Trading Ltd.
              27 Veridian Corporate Center
              New Providence, Bahama Islands

       Can Sun, a former Corporate Associate and Blockchain Industry Co-chair at Fenwick &

West, LLP, served as counsel for FTX and was involved in the negotiations between FTX and

DAAG with respect to the investment in and ultimate acquisition of DAAG. Can Sun had

significant involvement in the due diligence conducted by FTX for the ultimate acquisition of

DAAG. Can Sun also oversaw operations of FTX Europe after FTX’s acquisition of DAAG and

has knowledge of the value that the DAAG acquisition brought to FTX.

              Professionals with BDO USA, LLP:

              Evlon Charles
              BDO Houston Office
              2929 Allen Parkway, 20th Floor
              Houston, TX 77019

              Matthew Goldberg
              BDO Denver Office
              303 E. 17th Avenue, Suite 600
              Denver, CO 80203


                                               5

                                                                                                  A.0031
             Case 23-50437-JTD         Doc 36-2      Filed 11/08/23   Page 4 of 15




       On April 7, 2022, BDO conducted an appraisal of the value of DAAG on the date of the

ultimate acquisition of DAAG by FTX and found that FTX paid fair market value for DAAG in

consummating the transaction.

               Jen Chan
               Former CEO of FTX
               Current address and phone number unknown.

       Ms. Chan commission BDO to do the appraisal of DAAG after its acquisition by FTX.

               Professionals with Prager Metis
               14 Penn Plaza, Suite 1800
               New York, NY 10122

       The Certified Public Accountants with Prager Metis issued an audited statement of FTX’s

financials as of December 31, 2021 and have knowledge of FTX’s solvency at or around the time

of the disputed transactions.

               Andrew G. Dietderich,
               c/o Stephen Ehrenberg
               Sullivan & Cromwell LLP
               125 Broad Street
               New York, NY 10004

       Andrew Dietderich is lead bankruptcy attorney for FTX et al and represented the company

prior to the Chapter 11 filing. Mr. Dietderich has personal knowledge that FTX’s financial

condition was “rock solid” and that FTX did not use customer funds or take credit risks and did

not have liquidity issues. Mr. Dietderich has personal knowledge that FTX’s acquisition of DAAG

did not involve a fraudulent transfer in violation of Bankruptcy Code §548. Mr. Dietderich has

knowledge that FTX did not make a good-faith, legitimate attempt to sell FTX Europe to a third

party after the bankruptcy petition was filed.




                                                 6

                                                                                                  A.0032
              Case 23-50437-JTD       Doc 36-2      Filed 11/08/23   Page 5 of 15




                Darren Azman,
                McDermott, Will & Emory, LLP
                One Vanderbilt Avenue
                New York, New York 10017
                1-212-547-5615

        Mr. Azman has knowledge of the assurances given by Andrew Dieterich that FTX and

Alameda were financially sound and did not use customer funds or take credit risks and did not

have a liquidity crisis.

                Martha Lambrianou
                K-DNA Financial Services Ltd
                56 Griva Digeni Avenue, Anna Tower, Floor 1
                CY-02, 3063 Limassol, Cyprus

        Martha Lambrianou served as the CEO of K-DNA, which became affiliated with FTX

Europe. Martha Lambrianou has knowledge of the value that the DAAG acquisition brought to

FTX.

                Marios Athinodorou
                Address and phone number unknown

        Marios Athinodorou served as the Executive Director of FTX Europe and has knowledge

of the value that the DAAG acquisition brought to FTX.

                Max Rhotert
                Managing Director
                Alpina Film GmbH
                Wülfeler Str. 63
                30539 Hanover, Germany

        Max Rhotert served as the Chief Operating Officer of Crypto Lawyers, an entity affiliated

with Patrick Gruhn, and served as the Chief Operating Officer of FTX Europe. Max Rhotert has

knowledge of the licenses held by DAAG; the value of those licenses in the marketplace; and the

value that the DAAG acquisition brought to FTX.




                                                7

                                                                                                    A.0033
               Case 23-50437-JTD        Doc 36-2      Filed 11/08/23   Page 6 of 15




                John Ray III
                c/o Stephen Ehrenberg
                Sullivan & Cromwell LLP
                125 Broad Street
                New York, NY 10004

       John Ray has knowledge of FTX’s solvency at the time of the disputed transfers and the

value that the DAAG acquisition brought to FTX. Mr. Ray has personal knowledge that FTX’s

acquisition of DAAG did not involve a fraudulent transfer in violation of Bankruptcy Code §548.

Mr. Ray has knowledge that FTX did not make a good-faith, legitimate attempt to sell FTX Europe

to a third party after the bankruptcy petition was filed.

                Michael Kott
                CM-Equity AG
                Kaufingerstrasse 20
                80331, Munich, Germany

       Michael Kott has knowledge of the ability of DAAG to tokenize real world assets,

including securities; the licenses possessed by DAAG; and the value of the licenses and business

of DAAG.

                Marcel Lotscher
                Burghaldenstrasse 22
                5400 Baden, Switzerland

       Marcel Lotscher served as a regulator in Lichenstein and has knowledge of the approved

tokenized stock prospectus of DAAG. After FTX’s acquisition of DAAG, FTX hired Marcel

Lotscher to work for FTX Europe. Marcel Lotscher has knowledge of DAAG’s licensure; the

value of that licensure in the marketplace; and the benefits that DAAG rendered to FTX after the

acquisition.

                Regulators with CySEC
                P.O. Box 24996
                1306 Nicosia, Cyprus




                                                  8

                                                                                                   A.0034
             Case 23-50437-JTD        Doc 36-2     Filed 11/08/23    Page 7 of 15




       The Cyprus regulators have knowledge of DAAG’s licensure; the value of that licensure

in the marketplace; and the benefits that DAAG rendered to FTX after the acquisition.

              Employees with the Dubai Virtual Assets Regulatory Authority
              P.O. Box 9292
              Dubai, UAE

       The Dubai regulators have knowledge of DAAG’s licensure; the value of that licensure in

the marketplace; and the benefits that DAAG rendered to FTX after the acquisition.

              P.C. Vriend
              Head of Department of Financial Crime Supervision
              DeNederlandscheBank N.V.
              Postbus 98
              1000 AB Amsterdam, Netherlands
              +31 20 524 91 11

       Ms. Vriend has knowledge of DAAG’s licensure; the value of that licensure in the

marketplace; and the benefits that DAAG rendered to FTX after the acquisition. DeNederlandsche

Bank conducted an audit of DAAG and determined it to be in compliance with applicable laws.

              Regulators with BaFin
              Postfach 1253
              53002 Bonn, Germany

       The regulators with BaFin have knowledge of DAAG’s licensure; the value of that

licensure in the marketplace; and the benefits that DAAG rendered to FTX after the acquisition.

              Dr. Anna L. Izzo-Wagner, LL.M. Eur.
              Annerton
              Rechtsanwaltsgesellschaft mbH
              60323 Frankfurt a.M. Germany
              +49 69 2043 689-0

       Dr. Izzo-Wagner has knowledge of DAAG’s regulatory compliance and licensure and the

resultant value of DAAG. Annerton served as counsel for FTX in its acquisition of DAAG.




                                               9

                                                                                                  A.0035
            Case 23-50437-JTD        Doc 36-2         Filed 11/08/23   Page 8 of 15




              Gregory Landegger
              Chief Investment Officer
              The Whittemore Collection
              4 International Drive, Suite 300
              Rye Brook, NY 10573

       Gregory Landegger served as the Chief Investment Officer of the Whittemore Collection

at or around the time of FTX’s investment in and acquisition of DAAG. Gregory Landegger has

knowledge of discussions with DAAG pertaining to a potential transaction between the

Whittemore Collection and DAAG; the value of DAAG at or around the time of FTX’s acquisition

of DAAG; and the market potential of DAAG.

              Wei Zhou, former CFO of Binance
              Current Coins.ph CEO
              12F Centerpoint Building,
              Julia Vargas cor Garnet St., Ortigas Center,
              1605, Pasig City, Philippines

              and

              David Koa, head of Binance (Singapore)
              Address and phone number unknown

       Wei Zhou served as the Chief Financial Officer of Binance and David Koa served as the

head of Binance (Singapore) at or around the time of FTX’s acquisition of DAAG. Messrs. Zhou

and Koa have knowledge of discussions with DAAG pertaining to a potential transaction between

DAAG and Binance; the value of DAAG at or around the time of FTX’s acquisition of DAAG;

and the market potential of DAAG.

              Various employees of Kraken
              Payward Ventures, Inc.
              100 Pine St, Suite 1250
              Office 6, PMB A188
              San Francisco, CA 94111

       Kraken engaged in discussions with DAAG pertaining to a potential transaction between

DAAG and Kraken. The individuals employed by Kraken have knowledge of those discussions;


                                                 10

                                                                                                A.0036
             Case 23-50437-JTD        Doc 36-2      Filed 11/08/23    Page 9 of 15




the value of DAAG at or around the time of FTX’s acquisition of DAAG; and the market potential

of DAAG.

               William Shihara
               Former CEO of Bittrex
               c/o Jeremy O. Bressman
               Kobre & Kim LLP
               800 Third Ave., 6th Floor
               New York, NY 10022

       William Shihara served as the CEO for Bittrex at or around the time of FTX’s initial

investment in DAAG. William Shihara has knowledge of discussions with DAAG pertaining to a

potential transaction between DAAG and Bittrex; the value of DAAG at or around the time of

FTX’s investment in DAAG; and the market potential of DAAG.

               Ryne Miller
               Former General Counsel of FTX
               Former Partner with Sullivan & Cromwell LLP
               Current Managing Partner of Miller Strategic Partners LLP
               New York, NY

       Ryne Miller served as counsel to FTX at or around the time of FTX’s investment in and

acquisition of DAAG.      Mr. Miller had knowledge of the European regulatory scheme for

cryptocurrency exchanges and provided FTX with legal advice with respect to such regulatory

schemes in connection with FTX’s DAAG investment and acquisition. At or around the same

time, Ryne Miller served as counsel for FTX in connection with the acquisition of Ledger X, a

similarly situated company to DAAG in the United States, and Ryne Miller provided due diligence

services in connection with the Ledger X transaction. Ryne Miller has knowledge of the value

that a licensed company with the ability to tokenize real world assets could provide to FTX.

               Sequoia Capital
               2800 Sand Hill Rd
               Menlo Park, CA 94025




                                               11

                                                                                                  A.0037
               Case 23-50437-JTD     Doc 36-2       Filed 11/08/23   Page 10 of 15




       Sequoia Capital was a significant investor in FTX. As owner of a significant equity stake

in FTX, Sequoia Capital continually pushed FTX to secure the appropriate licenses and regulatory

approval for its operations. Sequoia Capital has knowledge of the value that FTX’s acquisition of

DAAG brought to FTX in connection with regulatory and licensing legitimacy.

                Mariana Gospodinova
                Executive Vice President of Operations
                Crypto.com
                Address and phone number unknown.

       Ms. Gospodinova inquired in mid-June 2023 on behalf of Crypto.com about the possible

purchase of FTX Europe after FTX filed bankruptcy who inquired about a potential acquisition

in mid-June.

                Samuel Tracubbo
                Current address and phone number unknown.

       Mr. Tracubbo is a former Co-CEO of Alameda.

                Arthur Thomas
                Current address and phone number unknown.

       Mr. Thomas has served as a director of FTX along with Bankman-Fried and Sing.

                Franco Lorandi
                Current address and phone number unknown.

       Mr. Lorandi served as FTX Europe administrator.


       2.       Description of the Location of Discoverable Documents.

                A.     Telegram chats.

       Brandon Williams principally communicated with the individuals at FTX, DAAG, and

other individuals in the crypto currency space via an app known as Telegram. The chats on

Telegram can be exported to HTML files and contain discoverable documents.




                                               12

                                                                                                    A.0038
            Case 23-50437-JTD        Doc 36-2      Filed 11/08/23   Page 11 of 15




              B.      Email.

       In addition to communication via Telegram, Brandon Williams communicated with

individuals at FTX, DAAG, and other individuals in the crypto currency space via two email

addresses: b.williams@cosimacapital.co and thelong1@protonmail.com. Both email accounts

have emails retained on the cloud through Proton Mail.

              C.      Laptop Computer.

       Brandon Williams saved certain significant documents, such as the transaction documents,

DAAG’s business plan, and DAAG presentation materials, locally on his laptop.

       3.     Damages.

       Brandon Williams is not the Plaintiff and is not seeking a damages claim.

       4.     Insurance Agreements.

       There exist no applicable insurance agreements.



                                                    /s/ Gregory L. Arbogast
                                                    Lawrence J. Gebhardt (pro hac vice)
                                                    Gregory L. Arbogast (No. 6255)
                                                    GEBHARDT & SMITH LLP
                                                    1000 N. West Street, Suite 1200
                                                    Wilmington, DE 19801
                                                    T: (302) 295-5038
                                                    F: (443) 957-4325
                                                    Garbogast@gebsmith.com

                                                    Attorneys for Defendant, Brandon Williams




                                              13

                                                                                                  A.0039
             Case 23-50437-JTD          Doc 36-2       Filed 11/08/23    Page 12 of 15




                                       Certificate of Service

       I HEREBY CERTIFY that on this 27th day of September, 2023, I caused the foregoing

Initial Rule 26(a)(1) Disclosures to be sent, via first class mail, postage pre-paid, to:


Matthew B. McGuire
Landis Rath & Cobb LLP
P.O. Box 2087
919 Market Street, Suite 1800
Wilmington, DE 19899

Andrew G. Dietderich
James L. Bromley
Brian D. Glueckstein
Alexa J. Kranzley
Sullivan & Cromwell LLP
125 Broad Street
New York, NY 10004

Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
919 N. Market Street
17th Floor P.O. Box 8705
Wilmington, DE 19899-8705

Heath D. Rosenblat
Morrison Cohen LLP
Joseph T. Moldovan
Jason P. Gottlieb
909 Third Avenue, 27th Floor
New York, New York 10022

Darrell M. Daley
Samantha Neal
The Daley Law Firm
4845 Pearl East Circle, Suite 101
Boulder, Colorado 80301

                                               /s/ Gregory L. Arbogast
                                               Gregory L. Arbogast (Bar No. 6255)




                                                  14

                                                                                            A.0040
              Case 23-50437-JTD             Doc 36-2       Filed 11/08/23        Page 13 of 15




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)



FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                   Plaintiffs,

                        -against-                              Adv. Pro. No. 23-50437 (JTD)
LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,

                                   Defendants.


     THE DEBTORS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                      DEFENDANT PATRICK GRUHN

                 Pursuant to Federal Rules of Civil Procedure 26 and 34, made applicable by

Federal Rules of Bankruptcy Procedure 7026, 7034, and 9014 (the “Bankruptcy Rules”) and the

Local Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules” and together with the Bankruptcy Rules, the “Rules”), the Debtors (as defined below)

submit this request for the production of documents (the “Requests”) to Defendant Patrick Gruhn

in connection with the above-captioned Adversary Proceeding. The Debtors request that the



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX [cases.ra.kroll.com]. The principal place of business of Debtor Emergent
    Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and
    Barbuda.




                                                                                                                      A.0041
            Case 23-50437-JTD          Doc 36-2       Filed 11/08/23    Page 14 of 15




documents and electronic information responsive to the Requests identified in the attached

Exhibit A be produced to Stephen Ehrenberg, Sullivan & Cromwell LLP, 125 Broad Street,

New York, New York 10004, counsel for the Debtors, no later than November 13, 2023.

               Please take further notice that the Debtors reserve their rights under title 11 of the

United States Code (the “Bankruptcy Code”), the Rules, and any applicable law regarding the

subject matter of these Requests to amend, supplement, and/or modify Exhibit A attached

hereto, or serve additional discovery requests.




                                                  2
                                                                                                        A.0042
           Case 23-50437-JTD   Doc 36-2       Filed 11/08/23   Page 15 of 15




Dated: October 13, 2023            LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                   /s/ Matthew B. McGuire
                                   Adam G. Landis (No. 3407)
                                   Matthew B. McGuire (No. 4366)
                                   Kimberly A. Brown (No. 5138)
                                   Matthew R. Pierce (No. 5946)
                                   919 Market Street, Suite 1800
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 467-4400
                                   Facsimile: (302) 467-4450
                                   E-mail: landis@lrclaw.com
                                           mcguire@lrclaw.com
                                           brown@lrclaw.com
                                           pierce@lrclaw.com

                                   -and-

                                   SULLIVAN & CROMWELL LLP
                                   Steven L. Holley (admitted pro hac vice)
                                   Stephen Ehrenberg (admitted pro hac vice)
                                   Brian D. Glueckstein (admitted pro hac vice)
                                   Christopher J. Dunne (admitted pro hac vice)
                                   125 Broad Street
                                   New York, NY 10004
                                   Telephone: (212) 558-4000
                                   Facsimile: (212) 558-3588
                                   E-mail: ehrenbergs@sullcrom.com
                                           holleys@sullcrom.com
                                           gluecksteinb@sullcrom.com
                                           dunnec@sullcrom.com


                                   Counsel for the Debtors
                                   and Debtors-in-Possession




                                          3
                                                                                  A.0043
